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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                                          Chapter 7

 ALEXANDER E. JONES,
                                                                 Case No. 22-33553 (CML)

                 Debtor.

                    TRUSTEE’S WITNESS AND EXHIBIT LIST
             FOR THURSDAY, JANUARY 23, 2025, HYBRID HEARING ON
  TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING AND
    APPROVING THE SETTLEMENT BY AND BETWEEN THE CHAPTER 7 TRUSTEE,
       THE CONNECTICUT FAMILIES AND (II) GRANTING RELATED RELIEF
                           [Relates to Dkt. No. 1011]

          Christopher R. Murray in his capacity as Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate of Alexander E. Jones (“Alex Jones”) files this Witness and Exhibit List for the

hybrid hearing to be held on Thursday, January 23, 2024, at 9:00 a.m. (prevailing Central Time)

before the Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern

District of Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                            EXHIBITS

                                                                  M O        O   A D
                                                                                       Disposition
                                                                  A F        B   D A
    No.                        Description                                             After Trial
                                                                  R F        J   M T
              Trustee’s Expedited Motion for Entry of an
              Order (I) Authorizing and Approving the
              Settlement by and Between the Chapter 7
       1.     Trustee, the Connecticut Families, and the
              Texas Families and (II) Granting Related Relief,
              including proposed order [Dkt. No. 1011]
              Debtor’s Motion for Approval of Compromise
       2.     and Settlement Under Federal Bankruptcy Rule
              9019 [Dkt. No. 324], inclusive of Exhibit A
              Declaration of Alexander E. Jones in Support of
              Debtor’s Motion for Approval of Compromise
       3.     and Settlement Under Federal Rule of
              Bankruptcy Procedure 9019 [Dkt. No. 366]

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                                                               M O   O   A D
                                                                               Disposition
                                                               A F   B   D A
    No.                       Description                                      After Trial
                                                               R F   J   M T
             Agreed Order on Debtor’s Motion for Approval
       4.    of Compromise and Settlement of Under
             Federal Bankruptcy Rule 9019 [Dkt. No. 374]
             Debtor’s Motion for Approval of Compromise
             and Settlement Under Federal Bankruptcy Rule
       5.    9019 [Case No. 22-60043, Dkt. No. 621],
             inclusive of Exhibit A
             Declaration of Alexander E. Jones in Support of
             Debtor’s Motion for Approval of Compromise
       6.    and Settlement Under Federal Rule of
             Bankruptcy Procedure 9019 [Case No. 22-
             60043, Dkt. No. 662]
             Agreed Order on Debtor’s Motion for Approval
             of Compromise and Settlement of Under
       7.    Federal Bankruptcy Rule 9019 [Case No. 22-
             60043, Dkt. No. 673]
             Debtor’s Amended Notice of Filing Solicitation
       8.    Version of the Amended Plan of Reorganization
             [Dkt. No. 590]
             Debtor’s First Amended Plan of Reorganization
       9.    Under Subchapter V of the Bankruptcy Code
             [Case No. 22-60043, Dkt. No. 756]
             Transcript of Alexander E. Jones’ April 15,
       10.   2024, Deposition
             Case No. 22-33553 Claims Register as of
       11.   January 15, 2025
             Case No. 22-60043 Claims Register as of
       12.   January 15, 2025
             Texas State Court Order granting Plaintiffs’
             Application for Turnover Order regarding Neil
             Heslin and Scarlett Lewis v. Alex Jones and
       13.   Free Speech Systems, LLC, Cause No. D-1-GN-
             18-001835, In the 261st Judicial District Court
             of Travis County, Texas
             Texas Plaintiffs’ Application for Post
             Judgement Writ of Garnishment regarding Neil
             Heslin and Scarlett Lewis v. Alex Jones and
       14.   Free Speech Systems, LLC, Cause No. D-1-GN-
             18-001835, In the 261st Judicial District Court
             of Travis County, Texas (inclusive of exhibits
             thereto)
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                                                                M O   O   A D
                                                                                Disposition
                                                                A F   B   D A
    No.                       Description                                       After Trial
                                                                R F   J   M T
             Connecticut Families’ Application for Post-
             Judgment Turnover and Appointment of
             Receiver as to Judgment Debtor Alexander E.
       15.   Jones, Cause No. D-1-GN-24-004752, In the
             261st Judicial District Court of Travis County,
             Texas
             Order Granting Trustee’s Motions to Transfer
             Venue regarding Texas Plaintiffs’ Application
             for Turnover Order regarding Neil Heslin and
             Scarlett Lewis v. Alex Jones and Free Speech
       16.   Systems, LLC, Cause No. D-1-GN-18-001835,
             In the 261st Judicial District Court of Travis
             County, Texas [Case No. 24-03229, Dkt. No.
             40]
             Order Granting Trustee’s Motion to Transfer
             Venue regarding Plaintiffs’ Application for Post
             Judgement Writ of Garnishment regarding Neil
             Heslin and Scarlett Lewis v. Alex Jones and
       17.   Free Speech Systems, LLC, Cause No. D-1-GN-
             18-001835, In the 261st Judicial District Court
             of Travis County, Texas [Case No. 24-03228,
             Dkt. No. 41]
             Claim No. 6 filed by Richard M. Coan, Trustee
       18.   [Dkt. No. 6-1]
             Claim No. 7 filed by Carlee Soto-Parisi [Dkt.
       19.   No. 7-1]

       20.   Claim No. 8 filed by Carlos Soto [Dkt. No. 8-1]

             Claim No. 9 filed by David Wheeler [Dkt. No. 9-
       21.   1]
             Claim No. 10 filed by Donna Soto [Dkt. No. 10-
       22.   1]
             Claim No. 11 filed by Erica L. Ash [Dkt. No. 11-
       23.   2]
             Claim No. 12 filed by Francine Wheeler [Dkt.
       24.   No. 12-1]
             Claim No. 13 filed by Ian Hockley [Dkt. No. 13-
       25.   1]
             Claim No. 14 filed by Jacqueline Barden [Dkt.
       26.   No. 14-1]

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                                                               M O   O   A D
                                                                               Disposition
                                                               A F   B   D A
    No.                       Description                                      After Trial
                                                               R F   J   M T
             Claim No. 15 filed by Jennifer Hensel [Dkt. No.
       27.   15-1]
             Claim No. 16 filed by Jillian Soto-Marion [Dkt.
       28.   No. 16-1]
             Claim No. 17 filed by Mark Barden [Dkt. No.
       29.   17-1]
             Claim No. 18 filed by Nicole Hockley [Dkt. No.
       30.   18-1]
             Claim No. 19 filed by Robert Parker [Dkt. No.
       31.   19-1]
             Claim No. 20 filed by William Aldenberg [Dkt.
       32.   No. 20-1]
             Claim No. 21 filed by William Sherlach [Dkt.
       33.   No. 21-1]
             Claim No. 23 filed by Neil Heslin [Dkt. No. 23-
       34.   1]
             Claim No. 24 filed by Veronique De La Rosa
       35.   [Dkt. No. 24-1]
             Claim No. 25 filed by Leonard Pozner [Dkt. No.
       36.   25-1]
             Claim No. 27 filed by Scarlett Lewis [Dkt. No.
       37.   27-2]
             Claim No. 28 filed by The Estate of Marcel
       38.   Fontaine [Dkt. No. 28-1]
             Connecticut Supreme Court Opinion, Lafferty v.
       39.   Jones, 366 Conn. 332 (2020)
             Connecticut Appellate Court Opinion, Lafferty
       40.   v. Jones, 229 Conn. App. 487 (Dec. 2024)
             Connecticut District Court’s June 18, 2019,
       41.   Sanctions Ruling
             Connecticut District Court November 15, 2021,
       42.   Sanctions Ruling
             Connecticut District Court November 18, 2021,
       43.   Memorandum of Decision regarding Motions to
             Strike Nos. 297, 229, and 200
             Connecticut District Court December 22, 2022,
             Memorandum        of     Decision     regarding
       44.   Defendants’ Motion to Set Aside the Verdict
             and for Remittitur Pursuant to General Statutes
             §52-228b and Practice Book § 16-35
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                                                                 M O      O    A D
                                                                                        Disposition
                                                                 A F      B    D A
    No.                        Description                                              After Trial
                                                                 R F      J    M T
             Texas Court of Appeals’ August 14, 2020,
       45.   Heslin v Jones Memorandum Opinion regarding
             Intentional Infliction of Emotional Distress
             Lafferty v. Jones Petition for Writ of Certiorari
       46.   filed by Jones on February 12, 2021
             Supreme Court of the United States Docket
       47.   Sheet for Lafferty v. Jones
             Texas Court of Appeals’ November 5, 2019,
       48.   Jones v. Pozner Memorandum Opinion
             Texas Court of Appeals’ March 25, 2020, Jones
       49.   v Heslin Memorandum Opinion regarding
             Defamation
             Texas Court of Appeals’ October 24, 2019,
       50.   Fontaine v Infowars, LLC Memorandum
             Opinion
       51.   Matters Resolved by Trustee’s 9019

       52.   Debtor/Trustee Allowed Claims Comparison
             Any pleading or other document filed with the
       53.   Court on the docket of the above-captioned
             chapter 7 case or related adversary proceeding
             Any exhibit necessary to rebut the evidence or
       54.   testimony of any witness offered or designated
             by any other party
       55.   Any exhibit listed by any other party

                                          WITNESSES
       1.      Christopher R. Murray, Trustee for the Alex Jones bankruptcy estate.
       2.      Any witness and rebuttal witnesses listed by any other party.
       The Trustee reserves the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. The Trustee also reserves the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

the Trustee reserves the right to introduce any previously admitted exhibit.



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Dated: January 21, 2025.

                                                 Respectfully submitted,
                                                 PORTER HEDGES LLP

                                                 By: /s/ Joshua W. Wolfshohl
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                                                 COUNSEL TO
                                                 CHRISTOPHER R. MURRAY,
                                                 CHAPTER 7 TRUSTEE




                                CERTIFICATE OF SERVICE
        I certify that on January 21, 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System in the United States Bankruptcy Court for the Southern
District of Texas.


                                                    /s/ Joshua W. Wolfshohl
                                                       Joshua W. Wolfshohl


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